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12/14/22, 12:20 PM     Case 1:23-cv-00822-ADA          Document
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                                                                           to Austin-Bergstrom                  Page
                                                                                               International Airport      2 of
                                                                                                                     - Google   2
                                                                                                                              Maps



                                           San Francisco International Airport to Austin-Bergstrom
                                           International Airport




                                                                                  Map data ©2022 Google, INEGI          100 mi



                     San Francisco, CA—Austin, TX
                     Nonstop (5–6 per day)                                     3 hr 25 min
                     Connecting                                              4 hr 45 min+
                     Round trip price, Dec 30, 2022 – Jan 3, 2023from $326
                     United, Alaska, American…

                         See results on Google Flights



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